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8                         UNITED STATES DISTRICT COURT
9           CENTRAL DISTRICT OF CALIFORNIA-WESTERN DIVISION
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     DEVON MAURICE McCRAW,                         ) CV 10-7824-JHN (SH)
13                                                 )
                                                   ) JUDGMENT
14                      Petitioner,                )
                                                   )
15         v.                                      )
                                                   )
16   K. HARRINGTON, WARDEN,                        )
                                                   )
17                      Respondent.                )
                                                   )
18
           IT IS ADJUDGED that the Petition for Writ of habeas Corpus is denied and
19
     the action is dismissed with prejudice.
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     DATED: May 2, 2012
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                                           JACQUELINE NGUYEN
24                                       UNITED STATES DISTRICT JUDGE
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